UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                          Case No.: 2−20−20230−PRW
                                                                Chapter: 11
         Rochester Drug Cooperative, Inc.
                                                                Tax ID: 16−0729574
                         Debtor(s)


                                            DEFICIENCY NOTICE
Docket # 1846 − Notice re: of Hearing On RDC Liquidating Trusts Objection To Claim 22189 Asserted By
         CSS Pharmacy, Inc. Filed on behalf of Liquidator Advisory Trust Group, LLC, solely in its capacity
         as Liquidating Trustee of the RDC Liquidating Trust. (RE: related document(s)1845 Motion to Object
         to Claim(s)) Filed by Attorney (Scharf, Ilan)

PLEASE TAKE NOTICE that the document(s) above contains deficiencies:

[   ] Remove ALL reference to a telephonic hearing and include the complete and correct hearing location.
[   ] Supplemental 2016(b) statement must be filed if professional fees are requested.
[   ] The caption on the document(s) filed does not match the case caption in CM/ECF.
[   ] Cover Sheet:
[   ] Motion/Notice of Motion:
[ X ] Notice of Motion: Incorrect Hearing [   ] DATE; [ X ] TIME; [     ] LOCATION.
[   ] Certificate of service:
[   ] Proposed Order:
[   ] Other:

ADDITIONAL INFORMATION: Please consult the Court's website for available hearing dates. Motion Practice
and Scheduling Guidelines can be found on the Court's website at: www.nywb.uscourts.gov
[ X ] This motion WILL NOT be considered by the Court.
[ X ] To efile, Bankruptcy > Motions > AMENDED MOTION. Link back to the original motion.
[ ] To efile, Bankruptcy >

*Questions regarding this notice should be directed to the Rochester Clerk's Office at 585−613−4200.

    Date: March 28, 2023                      Lisa Bertino Beaser, Clerk of the Bankruptcy Court
                                              By: S. Putnam, Deputy Clerk
Form defymtn/Doc 1847
www.nywb.uscourts.gov




         Case 2-20-20230-PRW, Doc 1847, Filed 03/28/23, Entered 03/28/23 13:44:58,
                          Description: Deficiency MOTION, Page 1 of 1
